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                                   UNITED STATES DISTRICT COURT
19                               NORTHERN DISTRICT OF CALIFORNIA
20 ANIBAL RODRIGUEZ, SAL CATALDO,                              Case No.: 3:20-cv-04688-RS
21 JULIAN SANTIAGO, and SUSAN LYNN
   HARVEY individually and on behalf of all                    PLAINTIFFS’ TRIAL PLAN ISO MOTION
22 other similarly situated,                                   FOR CLASS CERTIFICATION

23                             Plaintiffs,                     Judge: Hon. Richard Seeborg
         v.                                                    Courtroom 3 – 17th Floor
24                                                             Date: October 5, 2023
     GOOGLE LLC,                                               Time: 1:30 p.m.
25                             Defendant.
26
27

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1                                              I.       INTRODUCTION
2             Plaintiffs respectfully submit this Trial Plan in support of their motion for class certification
3    (the “Motion” or “Mot.”). This Trial Plan explains how the case can be tried efficiently and
4    consistent with Rule 23’s requirements.1
5                                  II.      THE CLASSES AND THE CLAIMS
6             This case is about “privacy controls” that Google provides to all of its accountholders—
7    the Web & App Activity and supplemental Web & App Activity switches (together, “(s)WAA”).
8    Google uniformly assured its users that “Web & App Activity must be on” “[t]o let Google save”
9    information regarding their “activity” on “[s]ites and apps that use Google services, including data
10 that apps share with Google.” Mot. at 2, 5, 11. The truth is that regardless of whether (s)WAA is

11 “on” or “off,” Google collects information about users’ activity on non-Google apps by way of its

12 Firebase and Google Mobile Ads (“GMA”) Software Development Kits (“SDKs”), which are

13 embedded                                                        . Mot. at 24.
14            On behalf of (s)WAA-off Google accountholders, Plaintiffs are pursuing three claims to
15 hold Google accountable for its improper collection and use of their app activity data: (I) invasion

16 of Class Members’ privacy in violation of the California Constitution; (II) intrusion upon Class

17 Members’ seclusion in violation of California law; and (III) violations of the California

18 Comprehensive Computer Data Access and Fraud Act (“CDAFA”). These claims have survived

19 Google’s motions to dismiss.

20            Plaintiffs specifically seek to certify two nationwide classes under Federal Rules of Civil
21 Procedure 23(b)(3) and 23(b)(2).

22                •    Class 1: All individuals who, during the period beginning July 1, 2016 and
                       continuing through the present (the “Class Period”), (a) had their “Web & App
23
                       Activity” and/or “supplemental Web & App Activity” setting turned off and (b)
24                     whose activity on a non-Google-branded mobile app was still transmitted to
                       Google, from (c) a mobile device running the Android operating system, because
25                     of the Firebase Software Development Kit (“SDK”) and/or Google Mobile Ads
                       SDK.
26
27
     1
28     This Trial Plan is not intended to present an exhaustive list of evidence and witnesses that
     Plaintiffs plan to use. Plaintiffs will continue to evaluate the case as it proceeds toward trial.
                                                         1
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1                  •   Class 2: All individuals who, during the Class Period (a) had their “Web & App
                       Activity” and/or “supplemental Web & App Activity” setting turned off and (b)
2                      whose activity on a non-Google-branded mobile app was still transmitted to
                       Google, from (c) a mobile device running a non-Android operating system, because
3                      of the Firebase SDK and/or Google Mobile Ads SDK.
4    California law applies to all claims and for all class members, particularly because of the California
5    choice-of-law provision in the Google Terms of Service. See Mot. at 7–8.
6                                   III.     SCOPE AND LENGTH OF TRIAL
7             All issues can be tried together in a single trial. Subject to the Court’s guidance, Plaintiffs
8    will likely present a combination of live and videotaped testimony from the four named Plaintiffs,
9    Plaintiffs’ five experts, current and former Google employees, and perhaps other witnesses.
10 Excluding jury selection, Plaintiffs’ current estimate is that trial can be completed in approximately

11 14 court days, with Plaintiffs and Google splitting their time equally.2

12                                IV.      COMMON ISSUES AND EVIDENCE
13            A.       Factual Stipulations
14            Google has taken the position that “[t]he facts in this case are not complicated, and the
15 questions are straightforward.” Dkt. 105 at 4. Google has likewise suggested that the case turns on

16 two “central questions”: “[1] what Google represented to users and [2] the actual technical

17 functioning of the accused technology.” Mot. at 4, 9 (citing Mot. Ex. 17). In Google’s words, “the

18 bulk of the documents relevant to this case [are] public disclosures, Google policies, and non-

19 public engineering documents.” Mot. Ex. 49 at 2. Plaintiffs agree that the case’s “central questions’

20 turn on common, classwide evidence like Google’s disclosures and documents and expert

21 testimony describing Google’s technologies.

22            Through factual stipulations, the Parties can further simplify the presentation of the case’s
23 “central questions” to the jury. For example, the Parties can agree on the relevant set of Google

24 disclosures for the Class Period. The Parties can also stipulate to certain aspects of how the

25 technologies function. Both technical experts agree that

26
27   This assumes cross examinations count against the examiner’s time (i.e., Google cross-examining
     2

28 a witness in Plaintiffs’ case-in-chief and vice-versa) and that Google’s defense is of reasonable
   length.
                                                    2
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1                                                                     . See Mot. at 16. The experts agree on other
2    issues, too. See Mot. Ex. 60 at ¶ 62 (Google’s technical expert stating: “
3                                                                                                                   . On
4    this, Mr. Hochman [Plaintiffs’ expert] and I agree.”) (emphasis added); id. at ¶ 93 (“I agree [with
5    Mr. Hochman]                                                             ”) (emphasis added); id. at ¶ 214 (“I
6    understand and agree with Mr. Hochman that
7

8                      ”) (emphasis added). Factual stipulations about topics like these will streamline a trial
9    that is already relatively straightforward.
10            B.         Documentary Evidence
11            Plaintiffs will rely on internal Google documents and emails as common, classwide proof
12 to support their claims, including instances of Google employees recognizing that Google’s

13 (s)WAA disclosures are inaccurate. As just one example, Google engineer

14                                                                                                                      ”
15 Mot. Ex. 7 at -10 (emphasis added). Plaintiffs will also rely on nonpublic Google user studies,

16 including one which found that “

17                     .” Mot. Ex. 42 at -00 (emphasis added). Documents like these support Plaintiffs’
18 theory that when a company provides a data collection on/off switch, “off” should mean “off.”

19 Plaintiffs identify similar Google admissions throughout their Motion. As trial approaches and in

20 accordance with Rule 26 and this Court’s pretrial procedures, Plaintiffs will provide Google with

21 a discrete list of documents that they intend to rely on to prove their case with common, classwide

22 proof.

23            C.         Fact Witness Testimony
24            Through a combination of live testimony and perhaps videotaped deposition testimony,
25 Plaintiffs (and/or Google) may offer testimony from current and former Google employees,

26 including potentially these non-exhaustive representative witnesses and topics:
27                 •     Chris Ruemmler: a Google engineer who
                                         . See Mot. at 12, 15–16, 18.
28
                                                              3
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1                  •   Dave Monsees: A Google product manager and Google’s 30(b)(6) witness
                       designated to address (s)WAA-focused topics.
2
                   •   Steve Ganem: A Google product manager focused on Google Analytics, and
3                      Google’s 30(b)(6) witness designated to address topics related to Google Analytics
4                      for Firebase.

5                  •   Belinda Langner: A Google product manager responsible for app ad campaigns,
                       and Google’s 30(b)(6) witness designated to address topics related to Google’s
6                      monetization of data.
7
                   •   Eric Miraglia: The Founder of Google’s Privacy and Data Protection Office, who
8                      testified that he is “
                                                 . See Mot. Ex. 4 at 96:21–97:6, 128:21–129:3.
9
              Plaintiffs’ four class representatives will also testify. They will describe their
10
     commonsense interpretation that “off” means “off,” and that by turning and keeping (s)WAA
11
     “off,” they did not consent to Google collecting, saving, and using their app activity.
12
              D.       Expert Testimony
13
              Consistent with their expert reports, which are appended to Plaintiffs’ motion for class
14
     certification, Plaintiffs anticipate the following expert testimony at trial:
15
              Jonathan Hochman: Mr. Hochman is the founder of Hochman Consultants, an agency
16
     that provides clients with online security, ecommerce, and advertising services. He is also a current
17
     PhD student at Yale University in the Department of Computer Science, where he serves as a
18
     Teaching Fellow and is a member of the Yale Applied Cryptography Laboratory. Relying on
19
     technical Google documentation and other common evidence, Mr. Hochman will describe the
20
     process by which Google
21

22

23
                                                   . Hochman Rep. §§ VII.A, B, F. Mr. Hochman will also
24
     demonstrate why Google’s trove of (s)WAA-off app activity data is
25
                                                                              . See, e.g., Hochman Rep. §§ VII.G,
26
     I. Mr. Hochman will also testify that, if ordered to do so by the Court, Google
27

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2                                                                             . Hochman Rep. § VII.K.
3             Professor Bruce Schneier: Professor Bruce Schneier, a lecturer and fellow at the Harvard
4    Kennedy School, is a renowned security technologist who researches, writes, and speaks about
5    computer security and Internet security, as well as the economic, psychological, and sociological
6    aspects of security and privacy. Professor Schneier will describe how the rise of the Internet and
7    surveillance business models have created significant threats to online privacy, making it more
8    important for users to have a refuge from pervasive tracking. Schneier Rep. § IV.2. Professor
9    Schneier will also offer opinions about the value of user data and the risks created by Google’s
10 collection and storage of user data. Id. §§ IV.3, 4, 8. He will also address Google’s disclosures

11 related to (s)WAA, including to explain how they exemplify “dark patterns,” or subversive user

12 interface designs. Id. § IV.11.

13            Michael Lasinski: Plaintiffs’ damages expert Michael Lasinski is a Certified Public
14 Accountant with twenty-nine years of experience evaluating the financial aspects of intellectual

15 property for government entities, corporations, and law firms. Mr. Lasinski has two damages

16 models. In one model, he quantified

17

18                                                                                        . Lasinski Rep. § 7. Using
19 Google’s own methodologies from its internal studies of

20

21

22                 . Id. ¶ 129. In his other damages model, Mr. Lasinski quantified
23

24                                                                                          . Id. ¶¶ 135, 139, 151.
25 Conservatively using that

26                                                                                                                       .
27 Id. ¶ 161. Mr. Lasinski has also explained how any aggregate damages award can be readily

28 apportioned. Id. § 9.
                                                              5
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1             Mark Keegan: Mark Keegan is a survey expert who has personally conducted over 1,000
2    consumer surveys reaching more than 250,000 consumers. For this case, Mr. Keegan surveyed a
3    general population of 1,039 respondents to ask questions about their use of mobile devices and
4    whether they have one or more Google Gmail accounts. Mr. Lasinski, Plaintiffs’ damages expert,
5    relied on Mr. Keegan’s findings to provide inputs for his actual damages model. Lasinski Rep. ¶
6    155.
7            V.       NOTICE PROGRAM AND POST-JUDGMENT ADMINISTRATION
8             Consistent with the process followed in other class cases, Plaintiffs will present a notice
9    program and claims administration protocol for the Court’s review and approval, which would
10 govern the pre-trial notice program as well as post-judgment submission, processing, and

11 resolution of claims. Plaintiffs have already retained Mr. Cameron Azari, an experienced and well-

12 regarded expert who has provided the substance for both a pre-trial notice program and post-

13 judgment notification and administrative process. See Azari Rep. Mr. Azari has been involved with

14 the administration of many other class actions in this District and nationwide, including cases with

15 tech companies involving millions of account holders. In his report, Mr. Azari explains that

16 notification in this case is straightforward because the classes are limited to Google account

17 holders, meaning that Google should have at least one email address on file for every class

18 member. Azari Rep. § IV(A). Moreover, because Google

19

20                                             . Id. Mr. Azari also explains how Google can provide an
21 additional form of direct notice by way of a disclosure to users the moment they log into their

22 Google accounts. Id. Mr. Azari supplements his direct notice plan with other methods to increase

23 the reach of the notice, including by way of a media plan. Id. § IV(C).

24                                              VI.      CONCLUSION
25            Plaintiffs respectfully seek the opportunity to efficiently try this case as a class action,
26 consistent with Rule 23’s requirements.
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